                Case:
ILND 450 (Rev. 10/13)    1:23-cv-15885
                      Judgment in a Civil Action Document #: 56 Filed: 07/10/25 Page 1 of 1 PageID #:242


                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

    Robert Sylvester Kelly,

Plaintiff(s),
                                                              Case No. 1:23-cv-15885
v.                                                            Judge Elaine E. Bucklo

United States of America, Latasha Kebe and
Tawana F. Ingram ,

Defendant(s).

                                           JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                          which      includes       pre–judgment interest.
                                     does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                  other: This case is dismissed for Plaintiff's failure to prosecute.

This action was (check one):

       tried by a jury with Judge     presiding, and the jury has rendered a verdict.
       tried by Judge     without a jury and the above decision was reached.
       decided by Judge Elaine E. Bucklo.


Date: 7/10/2025                                          Thomas G. Bruton, Clerk of Court

                                                         Maria G. Hernandez , Deputy Clerk
